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LAW GFFiCE-S OF

-'~ BENAH RAZ| ""~

& ASSOC|ATES, P.C.

memo aunt

BY HAND

   

Hon. `\/V"iiliam H. Pauley Hl

U.S. District Court

Southern District of New York
500 Pearl Street- Room 2210
New York, NY 10007-13 12

 

Dear ]udge Pauley:

I am counsel for plaintiff]-Up International Co., Ltd., in whose favor a ]udgment for
$141,066.76 was entered on November 19, 2012, against defendant Brooks Fitch Apparel
Group, LLC. No part ofthe ]uclgment has been paid to date.

l write to request the Court's assistance with judgment enforcement We served a
Subpoena Duces Tecum and Restraining Notice upon defendant on December 6, 2012,
which required defendant to produce requested records and appear for a deposition to be
held on December 26, 2012. Defendant did not respond to the Subpoena, produce any
documents, or appear for the deposition. In an effort to avoid contempt of court
proceedings, I agreed to unilaterally adjourn and reschedule the deposition and, after
further delays by the defendant, l\/lr. ]oseph Safdieh of Brooks Fitch finally appeared in my
office in response to the Subpoena on March 15, without the subpoenaed documents1

Without the documents, the deposition could not proceed; however, with both
parties present that day, a settlement involving a payment plan was negotiated and placed
on the record. A copy ofthe transcript is enclosed. The settlement required the first
payment to be made by April 30, 2013, with time of the essence.

Defendant failed to make that payment or any ofthe scheduled payments 0n April
30, 2012, I notified defendant of the default and rescheduled the deposition and document
production pursuant to the Subpoena for May 17. See enclosure. l\/lr. Safdieh contacted me
and acknowledged receipt ofthe April 30 notice, but claimed he was busy and would not

 

1 Mr. Safdieh appeared without counsel. I was notified before the deposition by defendant’s counsel
of record that they were no longer representing defendant and would not be appearing on l\/larch
15.

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appear on May 17. He in fact did not appear on May 17 and has not produced any
documents

Gl\]€n defendant 5 failures gnd_ refusal fn Complv 1A71"rh the S11bnnpnn nurse Tpr~nm

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we ask for the Court' s intervention. Before filing a formal motion to hold the defendant-
]udgment Debtor in contempt, we respectfully request that a conference be scheduled at
the Court's earliest convenience

Respectfully yours,

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Bernard D'Orazio

Enclosures
cc: Brooks Fitch Apparel Group, LLC (by email with enclosures)

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